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Pro Se 1 (Rev. 09/16) Complaint for a Civil Case




                                        United States District Court
                                                                 for the

                                                        District ofMassachusetts




                      Jo5c                                                 Case No.
                                                                                          (to befilled in bythe Cleric's Office)

                         Plalnl(ff(s)
(Write thefull nameofeach plaintiffIsfiling thiscomplaint.                 Jury Trial: (cheekone) • Ves Qno
Ifthenamesofall theplaintiffs cannotJit in theipace above,
pleasewrite "see attached" in thespace andattachan additional
page withthefidl list ofnames.)




                         Defendant(s)
(Write thefail nameofeach defendant whois beingsued. Ifthe
namesofall the defendants cannotfit in thespace above, please
write "seeattached" Inthe space and attach an additionalpage
with thefell list ofnames.)



                                                   COMPLAINT FOR A CIVIL CASE


L         The Parties to This Complaint
          A.         The Plaintifi(s)

                     Provide the information below for eachplaintiffnamed in the complaint. Attach additional pages if
                     needed.                                                                                        \ ^               _
                                Name                            QciiAjrl i)t^<:rjplA UpfiUcM
                                Street Address                   ^                                     \r\cA(x^c\ Sj-'
                                City and County
                                State and Zip Code                                    I
                                Telephone Number
                                E-mail Address                             (^t^Jii eIx )'706 (fA                           ot <' Ir CQl^
          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendantis an
                      individual, a government agency, an oiganization, or a corporation. Foran individual defendant,
                      include the person's job or title0fknown). Attach additional pages if needed.



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                     Defendant No. 1

                                Name

                                Job or Htle Qfknown)
                                                           KillcJf
                                                                 /O *
                                                                               "Cy LS^
                                SircetAddress                        SnufU         St.
                                City and County            Lr\ cA I S V'//<
                                State and Zip Code                V ^ 3^ C
                                Telephone Number                          " Ol H     SCO"^8^           .
                                E-mail Address (ifknown)


                     Defendant No. 2

                                Name

                                Job or Title (ifknown)
                                Street Address

                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (ifknown)


                     Defendant No. 3

                                Name

                                Job or Title (fknown)
                                Street Address

                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address Ofknown)


                     Defendant No. 4

                                Name

                                Job or Title Ofknown)
                                Street Address

                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address Ofknown)



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n.         Basis for Jurisdiction

           Federal courts are courts of limited jurisdiction (limited power). Generally, onlytwotypes of cases canbe
           heardin federal court: cases involving a federal question andcases involving diversity of citizenship of the
           parties. Under 28 U.S.C. § 1331, a case arising under theUnited States Constitution orfederal laws ortreaties
           is a federal question case. Under 28 U.S.C. § 1332, a case inwhich a citizen of oneState sues a citizen of
        . another State or nation and the amount at stake is more than $75,000 is a diversity ofcitizenship case. In a
          diversity of citizenship case, nodefendant may be a citizen ofthe sameState as anyplaintiff.

           What is the basis for federal court Jurisdiction? (checkall ihaiappfy)
                  I IFederal question                                  Diversity ofcitizenship

          Fill out the paragraphs in this section that applyto this case.

          A.          If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions oftheUnited States Constitution that
                      are at issue in this case.




           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.        The Plaintif!(s)

                                 a.                                Cdual
                                            If the plaintiffis an indhq^ual
                                                                                                                    .« a citizen ofthe
                                           State of(noifie)            |/^ .                              •

                                            If the plaintiff is a corporation
                                           The plaintiff, (name)                                                    , is incorporated
                                            under the laws ofthe State of (name)                                                         «
                                            and has its principal placeofbusiness in the Stateof (name)



                                 (Ifmore than one plaintiffisnamed inthe complaint, attach anadditionalpage providing the
                                 same informationfor each additionalplaintiff.)

                                 The Defendant(s)

                                 a.         If the defendant is an individual
                                            The defendant, (name)                                                 ,is acitizen of
                                            the State offname)                                                _• Or is acitizen of
                                             ffbrelgn nation)

                                                                                                                               Page 3 of 5
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                                     b.        Ifthe defendant is a corporation
                                               The defendant, (name)                                        , is incorporated under
                                               the laws ofthe State of(name)            ,                             , and has its
                                               principal place of business in the State of(name)
                                               Or is incorporated under the laws of(foreign nation)
                                               and has its principal place of business in (name)

                                     (Ifmore than one defendant is namedin the complaint, attach an additionalpageproviding the^
                                    same informationfor each additional defendant.)

                          3.        The Amount in Controversy

                                     The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                    stake-is more than $75,000, not counting interest and costs ofcourt, because (explain):




     in.       statement of Claim

               Write a short and plain statement oftheclaim. Donotmake legal arguments. State asbriefly aspossible the
               facts showing thateach plaintiffis entitled to thedamages or other reliefsought State how each defendant was
               involved and what each defendant did that causedthe plaintiffharmor violated the plaintiffs rights, including
               thedates and places ofthatinvolvement or conduct. If more than one claim is asserted, number each claim and
               write ashort and plain statement ofeach claim in aseparate paragraph. Attach additional^ges ifneeded.                  A / CX'7
                            Scr,                                           q,, COV cr

                     f


     IV.       Relief

               State briefly and precisely whatdamages or otherreliefthe plaintiffasks thecourtto order. Donot make legal
               arguments. Include any basis for claiming that the wrongs dieged are continuing atthe present time. Include
               the amounts ofany actual damages claimed forthe acts alleged andthe basis fortheseamounts. Include any
               punitive orexemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
               punitive money damages.
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V.        Certification and Ciosing

          Under Federal Rule ofCivil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and beliefthat this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost oflitigation; (2) is supported by existing law or by a
          nonfrivolousargument for extending, modifying, or reversingexisting law; (3) the fectual contentions have
          evidentiarysupport or, ifspecifically so identified, will likely have evidentiarysupportafter a reasonable
          opportunify forfurtherinvestigation or discovery; and(4) the complaint otherwise complies with the
          requirements ofRule 11.

          A.         For Parties Without an Attorney

                     I agreeto provide the Cleric's Office with any changes to myaddress where case-related papers maybe
                     served. I understandthat my failure to keep a current address on file with the Clerk'sOffice may result
                     in the dismissal of my case.

                     Date ofsigning: f)             I       . Jc)/ 7
                     Signature ofPlaintiff
                     Printed Name of Plaintiff
                                                                I C>        J             C
          B.         For Attorneys


                     Date ofsigning:


                     Signature ofAttorney
                     Printed Name ofAttorney
                     Bar Number

                     Name of Law Firm

                     Street Address

                     State and Zip Code
                     Telephone Number
                     E-mail Address




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                                                                     i • '     ' •
                                                                                     «-*   »   -V '




                        iV. REUEF OF DAMAGES




#1. KINDRED COUNTRY ESTATES, AND IT'S STAFF, DR. GERALD STEINBERG, MD., .
COVERTLY FILED FALSE NEGLECTAND ABUSE CHARGES, AGAINST DANIEL
JOUBERT. TO GET FINANCIAL, PHYSICALCONTROL AWAY FROM HIM, AND
TRANSFER HIS MOTHER TO KINDRED COUNTRY ESTATES NURSING HOME,
LOCATED IN AGAWAM, MASS. SEE EXHIBITS C, Cl, and C2. THIS FILE,
INFORMATION WAS KEPT COVERTLY (SECRET), AND WAS USED AGAINST DANIEL
JOSEPH JOUBERT AND HIS MOTHER, BARBARA A. SMITH-CHAFFEE.



#2. THIS IS A DIRECT VIOLATION OF HIPPA LAWS, WHICH ENTITLES DANIEL
JOSEPH JOUBERT, THE MAXIMUM PUNITIVE DAMAGES OF $250,000 DOLLARS,
AND A 5 YEAR PRISON TERM, FOR THE PERPETRATORS, S. HIPPA RELEASE
AUTHORITY.




#3. PLEASE SEE EXHIBIT D THROUGH D12, MASSACHUSETTS HEALTH CARE
PROXY, EXHIBIT D3, exhibit d3, PAGE #3, (5), HIPPA RELEASE AUTHORITY. I
INTEND, MY AGENT, TO BETREATED AS I WOULD BE, WITH RESPECT TO MY
RIGHTS REGARDING THE USE AND DISCLOSURE OF MY INDIVIDUALLY
IDENTIFIABLE HEALTH INFORMATION OR OTHER MEDICAL RECORDS. THE
RELEASE AUTHORITY APPLIES TO ANY INFORMATION OR OTHER MEDICAL
RECORDS. THIS RELEASE AUTHORITY APPUES TO ANY INFORMATION
GOVERNED BY, THE HEALTH INSURANCCE PORTABILITY AND ACCOUNTABILITY
ACT OF 1966 (a/k/a HIPPA), 42uscl32od, and 4SCFR160-164.

EXHIBITSF, Fl, F2, F3, F4, F5, F6. PLEASE SEE EXHIBIT F6, REPORT. PATRICIA
SAUSB RY (DIRECTORO, OF KINDRED COUNTRY ESTATES AND REBECCA
STODDARD, 9HEAD OF NURSING AT KINDRED COUNTRY ESTATESC, WHERE
BOTH MADE AWARE IN A REPORT DATED, SATURDAY, MAY 7,2016 AND
SUNDAY, MAY8,2016, MOTHER'S DAY, OF PHYSICAL ABUSEOF PATIENT,
BARBARA A. SMITH-CHAFFEE. (NOTE: SEE PICTURE, EXHIBIT F7, F8, F9, FIO).
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     RELl^^n OF DAMAGES
#1. ROBIN THERRIEN, SOCIAL WORKER AT KINDRED COUNTRY ESTATES, LIED
AND SIGNED DOCUMENTS, AND PERJURED HERSELF. FlUNG FALSE
UNDOCUMENTED CHARGES AGAINST DANIEL JOUBERT AND BRUCE CHAFFEE.




#2. EXHIBIT #G5, NOW COMES THE MOVING PARTY, COUNTRY ESTATES OF
AGAWAM, MASS, WHO STATESAS FOLLOWS; RESPONDENT, BARBARA SMITH,
IS A FORCED RESIDENT AT COUNTRY ESTATES OF AGAWAM. HER SON, WHO IS
HER REPRESENTATIVE PAYEE AND POSSIBLY HER DURABLE POWER OF
ATTORNEY, AND HER HUSBAND, ARE BEING INVESTIGATED BYGREATER
SPRINGFIELD SENIOR SERVICES, FOR CARETAKER NEGLECTAND FINANCIAL
EXPLOITATION. THIS STATEMENT IS A LIE! BARBARA SMITH'S CASE WITH
GREATER SPRINGFIELD SENIORSERWICES WAS CLOSED 2/8/2017. PLEASE SEE
EXHIBIT Gl. THE MOTION FOR APPOINTMENT OF TEMPORARY CONSERVATOR,
PETITION FILED FEBRUARY 8,2017. THE SAME DAY BARBARA SMITH'S CASE
GREATER SPRINGFIELD SENIOR SERVICES CLOSED HER CASE/ WHERE'S THE
MYSTERY? GREATER SPRINGFIELD SENIORSERVICES INVESTIGATION FINDINGS,
CLAIMED BY ROBIN THERRIEN AND KINDRED COUNTRY ESTATES? THEY SIMPLY
DO NOT EXIST, NOR WILL THEY EVER!
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DANIEL JOSEPH JOBERT, FOWARDED THIS INFORMATION TO BOTH OF THEM!
PATRICIA SAUSBURY AND REBECCA STODDARD, THEY CHOSE TO DO NOTHING!
THEY NEVER FILED WITH THE MASS HEALTH DEPT. OR HIPPA, THE HEALTH
INSURANCE PORTABIUTY AND ACCOUNTABILITY ACT OF 1966, (a/k/a HIPPA),
42USC 132od and 45CFR160-164. WHAT PATRICIA STODDARD HAS DONE, IS A
CRIMINAL ACT AND A DIRECT VIOLATION OF HIPPA LAWS, WHICH ENTITLES,
DANIEL JOSEPH JOUBERT, THE MAXIMUM PUNITIVE DAMAGES OF $250,000
AND UP TO 10 YEARS PRISON TERM FOR THE PERPETRATORS!
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      DAMAGES TO PLAINTIFF, THE COURT TO ORDER:



      #1. PAIN AND SUFFERING DAMAGES, SENIOR AND DISABLED PERSON, DANIEL
      JOUBERT.




      ##2. MY MOTHER, BARBARA A. SMITH-CHAFFEE, WAS TAKEN AWAY FROM ME
      IN MAYOF 20161 BY S/W AND ADMINISTRATORS AT KINDRED COUNTRY
      ESTATES! MOM HASN'T BEEN H0ME;60ING ON 4 YEARS!            . KINDRED
      COUNTRY ESTATES, MAY HAVE SEPERATED US PHYSICALLY, BUT NOT OUR LOVE
      BETWEEN A MOTHER AND SON, AND A SON AND HIS MOTHER! I AM SORRY
      MOM, I COULDNn* PROTECT YOU BETTER! I JUST DIDN'T REAUZE HOW
      CORRUPT AND GREEDY THE NURSING HOME INDUSTRY HAS BECOME! I WANT
      YOU TO COME HOME! YOUR LOVING SON, DANIEL JOUBERT



      #3. PAIN AND SUFFERING? I WOULD GIVE ALL THE GOLD AND WEALTH OF THE
      WORLD TO HAVE MOM BACK HOME!




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                                        IncidentReport-Monday. 8/8/2016
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           My name is Daniel Joubert, I am the son ofBarbara Smith. My mother, Barbara Smith is a resident of
  Kindred / Country Estates West2-SNF. Barbara Smith was admitted on 5-5-16.
           On Monday, August 8,2016,1, Daniel Joubert, and Bruce Chaffee, Barbara Smitli's husband, went to visit
  Barbara Smith at Kindred Country Estates. We were all in the family visiting room when Inoticed my mother's
  shoes, hat and baby dolls were missing. I told mom "I'll go back to your room and get the items." I went back to
  my mother's room, #235, and began looking for these items. I noticed mom's roommate's curtain was drawn
  completely around her bed. Her O2 was running, Ithought Imight be disturbing her and said, "I am looking for
  my mother's personal items, it will only take me amoment." At the time, unbeknownst to me, mom's roommate
  had died earlier that morning (8/8/16)!
        There was nothing unusual to indicate such a tragic event - no caution yellow tape, no restrictions into or
 out ofthe room. We were never informed by any nurses, administrators, aides, PCAs or anyone else. Itwas as if
 nothing had happened!
        Ibrought my mother's items back to the family room. Isuggested that we go to the other patient family
 room located at the other side offloor #2. We packed up our belongings and proceeded to the other family room
          The 2nd visiting family room is located next to die elevators. We were visiting and eating snacks we had
 brought to mom. The elevator door opened and out came 3men with agumey bed on wheels and ablack body
 bag. One of the men looked like a funeral director.
          Bruce and I made acomment about the men. Brace said "Someone has died?" It was 2p.m. EDT.
         At 2:30 p.m. the men returned to tlie elevators with abody in the black body bag. It was disturbing, to say
 the least, to wimess such an event. At the time we did not know it was my mother's roommate's body being re
 moved.

          At 3:30 p.m. we brought mom outside to the tent patio and ran into Louis. We talked. Louis was playing
Yahtzee. Bruce went inside to get some soda and water.
        At 5:00 p.m. we headed back to the 2nd floor visiting and dining hall area. Diimer was brought to Barbara
at 5:30 p.m. The aide, aJamaican woman who knew my mother on sight, offered to take my mother's baby dolls
so mom could eat. My mother saidthank you and began eating.
        I asked about the body we saw being taken out in the elevator. The aide said "Iam sorry, that was Barbara's
roommate." Isaid "You're kidding! When did she pass?" The aide replied "Very early this morning." Ireplied
"Are you kiddingme? They left her in her bed? With my mother in the room?" For 10 hours!
      Why wasn't my mother, Barbara Smith, removed from the room? Why didn't they quarantine room #235?
Why did they leave my mother's roommate unattended for 10 hours? Aren't there protocol procedures? Aren't
there health codes, standards and procedures that have to be met? Should people, staff, maintenance be allowed
in room #235 after aperson is declared dead by amedical examiner? Is this the way Kindred / Country Estates
handles the passing ofone oftheir clients? I, Daniel Joubert, am amandated reporter. Bruce E. Chaffee is a man
dated reporter.
                                                             8-8-2016
                                                             Monday
